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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA



PAUL TOBIN,
    Plaintiff

v.
                                             Civil Action No. 21-1579
CHICHESTER SCHOOL DISTRICT,
et al.
       Defendants.



              MEMORANDUM OF LAW IN SUPPORT
       OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Defendants Chichester School District (“School District”), Fred Serino,

Daniel Nerelli, Anthony Testa, and James Stewart (“District Defendants”), by and

through their undersigned counsel, submit this Memorandum of Law in support of

their Motion for Summary Judgment.

                           PROCEDURAL HISTORY

      On or about December 17, 2020, Plaintiff filed a Charge of Discrimination

with the EEOC and the Pennsylvania Human Relations Commission. On January

28, 2021, Defendants filed a response to the EEOC charge of discrimination and new

matter. The EEOC issued a right to sue letter on March 19, 2021.

      On April 5, 2021, Plaintiff commenced this action by filing a Complaint in

this Court. (Exhibit A). Plaintiff alleges the School District violated the Americans

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With Disabilities Act (“ADA”) (Counts I and II), District Defendants violated the

Family and Medical Leave Act (“FMLA”) (Counts III and IV), the School District

violated Title VII (Count V), the School District retaliated against Plaintiff in

violation of Title VII (Count VI), District Defendants discriminated against him

under Pennsylvania state law, specifically under the Pennsylvania Human Relations

Act (“PHRA”) (Count VII), the School District retaliated against him under the

PHRA (Count VIII), all Defendants discriminated against him under PHRA (Count

IX), and all individually named District Defendants aided and abetted in the

discrimination under PHRA (Count X).

                          FACTUAL BACKGROUND

      Plaintiff was hired as Director of Facilities by the School District on May 17,

2016. (Ex. C, Serino Affidavit at ¶ 2). His first day of work was June 1, 2016. (Ex.

A, Complaint, at ¶ 22). Due to medical issues, Plaintiff was on FMLA for 12-weeks,

from March 4, 2019, to May 31, 2019. (Ex. C, ¶ 3). At the conclusion of the FMLA,

Plaintiff requested a 6-month leave of absence beginning on June 1, 2019, and it was

granted. Id. Plaintiff requested to be demoted or reassigned as Facilities Supervisor

when he returned to work in November 2019. Id. When Plaintiff returned to work,

there were no restrictions.    (Exhibit B, Plaintiff’s July 16, 2021, deposition

transcript, p.157).




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      Defendant Civera who had been Facilities Supervisor, was promoted to

Director of Facilities. (Complaint, at ¶¶ 25-26). Friction between Civera and Tobin

appears to have started around February 2020. By June 2020, each was filing

complaints about the other. (Ex. C, ¶ 4).

      On July 1, 2020, Plaintiff sent an email to District Defendants and the School

Board of Directors that alleged Defendant Civera made inappropriate comments.

(Ex. A, Complaint, at ¶ 35. On July 16, 2020, Ms. Ruth Ann Baiocco responded to

Plaintiff’s email dated July 1 that an investigation was being conducted. (Ex. A.,

Complaint, at ¶ 38).

      After the two reports by Plaintiff that Defendant used inappropriate language

with one or two other co-workers at the District, but not witnessed by Plaintiff, the

School District, including Defendant Serino and Defendant Testa, performed an

investigation into the alleged statements to other employees and issued to separate

disciplinary actions against Defendant Civera. (Ex. G, pp. 24-33).

      Plaintiff’s complaint that Defendant Civera made inappropriate comments

was not directly heard but rather allegedly reported to him by other employees. (Ex.

B, pp. 44-49, 83-85).

      Unrelated to the friction between Plaintiff and Defendant Civera, in July 2020,

a cabinet was hung on a wall in the Education Center. The incident led to a screw

being screwed into an electrical wire, shorting a circuit, and shutting down air


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conditioning. (Ex. C, ¶ 6). This led to an investigation of who was responsible.

Plaintiff was interviewed along with others involved in the incident. Id. Defendants

Serino and Testa conducted interviews and Defendant Serino was responsible to

make appropriate findings. Id., and Anthony Testa Affidavit, Ex. E, ¶¶ 3-5.

      In August of 2020, due to the widespread COVID-19 pandemic and the

imminent start of the 2020-2021 school year, there was an increased need to clean,

sanitize and prepare all school buildings for the return of staff and students. (Ex. C,

¶ 7). Mike Civera recommended a supervisor be assigned to second shift to make

sure cleaning was done properly. Id. I discussed this with Mr. Civera and Mr. Testa,

and it was agreed that Mr. Tobin, as the only Facilities Supervisor, was appropriate

person to assign to that task. Id.

      Before the new school year was to begin, Defendant Civera met with

Defendant Testa, and it was decided Plaintiff would supervise the second shift

custodians. (Ex. C, ¶ 8). Defendants Civera and Testa wanted to make sure that the

night shift custodians were properly supervised since the school year would be in-

person after being all virtual from late March through the remainder of the 2019-

2020 school year. As a result, Plaintiff was informed his new workday was 3:00 PM

to 11:30 PM starting on Monday, August 31, 2020. Id.

      Plaintiff knew this time was particularly significant to the School District

because students were coming back to the schools for in-person school days after a


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long period where school was held virtually due to COVID-19 restrictions. (Ex. C,

¶ 9). Plaintiff understood he was needed to work the second shift because of the

need to supervise janitorial staff working overnight to ensure the enhanced cleaning

of classrooms (due to COVID-19) for the next school day. Id.

      Plaintiff testified he understood district-wide drastic changes were made when

the pandemic began in mid-March 2020. (Ex. B, p. 34). Despite this understanding,

Plaintiff alleges he was discriminated and retaliated against when Defendant Civera

told him in the spring or summer of 2020 that he would be concentrating on

supervision of the custodians. (Ex. B, pp. 35-41). Plaintiff could not state who was

involved in this decision and did not inquire. Id. Plaintiff was not demoted in status

or salary because of the assignment and continued to have full responsibility of the

entire facilities department when Defendant Civera was absent. Id.

      Plaintiff alleges he was told by secretaries that Defendant Civera told them he

had access to Plaintiff’s personal medical information. (Ex. B, pp. 41-44). At his

deposition, Plaintiff could not say what medical information was accessed. (Ex. B,

pp. 60-62). Plaintiff also said it was alleged by the secretaries the access was made

after hours. Id. Personal medical files are kept by Defendant Serino in a locked

cabinet that is not and has not been accessible by Defendant Civera. (Ex. C, ¶ 10).

      On Monday, August 31, 2020, Plaintiff submitted a doctor’s note that was

dated Friday, August 28, 2020, suggesting that his shift times should not change.


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The doctor’s note said that it was the doctors’ opinion “that a shift in Mr. Tobin's

schedule would undo the work he has put into the program in maintaining his

[health].” (Ex. C, ¶ 11). The note is Exhibit C-1.

      Plaintiff testified he attempted to obtain the doctors’ note about three to four

weeks in advance of his shift change saying “…I had previously asked for a letter to

block me being moved to the second shift.” (Ex. B, p. 216).

      Even though he had been told that his shift was not to start on August 31 until

3:00 PM, Plaintiff showed up to work at approximately 7:45 AM instead of 3:00 PM

as assigned. Plaintiff gave no prior notice he was going to show for the first shift.

Defendant Civera found work for him to do that day. (Ex. C, ¶ 12). Defendant

Serino sent an email to Plaintiff advising him that he needs to report to work when

assigned—i.e., 3:00 PM—and that it is insubordination for him to show up at his

former time, unannounced and without talking to the School District first. Id.

Plaintiff testified he read and understood the email from Defendant Serino. (Ex. B,

p. 221-22.) Defendant Serino also told him that an interactive process meeting

would be scheduled and that if he could not work due to health reasons, he could use

sick leave. (Ex. A., Complaint, at ¶42). (Ex. C, ¶ 13, Ex. C-2). Plaintiff then began

reporting to work at 3:00 PM as directed, but left work every workday thereafter at

or around 7:00 PM, usually taking a one-half day sick leave. (Ex. C, ¶ 14).




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      At the end of that week, Defendant Serino sent a letter to Tobin scheduling an

interactive process meeting for September 8, 2020. (Ex. C, ¶ 15). Letter is Exhibit

C-3. The meeting began, but it was cut short when Plaintiff said he wanted to have

an attorney. (Ex. B, pp. 231-34, Ex. C, ¶ 16, transcript is Ex. C-4). The interactive

process meeting was scheduled for September 17, 2020, but counsel asked for an

adjournment. (Ex. B, p. 236). The interactive process meeting was conducted on

September 25, 2020, and Plaintiff was represented by counsel. (Ex. A, Complaint,

at ¶ 43). (Ex. C, ¶ 17). The transcript is Exhibit C-5.

      Based on the discussions with the administration, it was concluded that

working the 3:00 PM to 11:30 PM shift was an “essential function” of the job. (Ex.

C, ¶ 18). Further, at the interactive process meeting, Plaintiff did not know if there

were any accommodations that could be provided that would enable him to work the

evening shift. Consequently, Defendant Serino sent a letter to Plaintiff on September

28, 2020, saying, in part:

“You and/or your attorney suggested that perhaps you could talk to your doctor to
determine what accommodations might be necessary to enable you to work the
evening shift. Please talk to your doctor about that and if there are any
accommodations that your doctor believes may exist to enable you to work that shift,
we will be happy to schedule another interactive process meeting to address those
issues. We would hope that you can talk to your doctor within the next two weeks.
Can you kindly let us know within two weeks whether you are going to talk to your
doctor, what accommodations your doctor may recommend to enable you to perform
the essential functions of your job during the evening shift and whether you are
requesting any accommodations to enable you to work the 3:00 PM to 11:30 PM
shift.” (Emphasis added) (Ex. C, ¶ 19, Ex. C-6).


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      Plaintiff testified he received the September 28, 2020, letter but did not

respond to the School District as requested. (Ex. B, pp. 115-121.) Plaintiff did not

know why he did not respond to the letter as requested. Id.

      In addition, on October 2, 2020, Defendant Serino sent FMLA forms to

Plaintiff. (Ex. C, ¶ 20, Ex. C-7). Plaintiff was required to have the FMLA

Physician’s Certification form completed and returned by October 19, 2020. Id.

While the processes surrounding the interactive process meeting and the FMLA

were occurring, so too was the investigation of the cabinet incident. Initially, the

District Defendants did not know that Plaintiff had any involvement in the incident.

Based on the records, it appeared that another employee was allegedly the

responsible employee. A notice of allegations was sent to that employee, and he was

interviewed on September 8, 2020, so that he could give his side of the story. (Ex.

C, ¶ 21). Through the interview of that employee, he provided the names of several

other employees involved in the incident, including Plaintiff. (Ex. C, ¶ 22). Because

of the information from that employee, notices were sent to the others involved in

the cabinet incident, including Plaintiff. Id. Plaintiff was interviewed about the

incident on October 5, 2020. Plaintiff was not represented by counsel at that

interview, and he stated that he did not want to be. (Ex. C, ¶ 23). Transcript is

Exhibit C-8.




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       Plaintiff testified he did not know who decided to send the October 2, 2020,

letter other than Mr. Serino. (Ex. B, pp. 98-100). He did not ask why Defendant

Serino sent the letter or if any other defendant was involved in sending the letter. Id.

       Plaintiff received a Notice of Eligibility and Rights and Responsibilities that

were included in Defendant Serino’s October 2, 2020, letter. (Ex. C, ¶ 24, Ex. C-7).

The letter required Plaintiff to return the FMLA form by October 19, 2020. Id.

Plaintiff testified at his deposition that he read the letter and form but could not get

it signed. (Ex. B, p. 101). Plaintiff said he sent the FMLA form to Dr. Cespon at

Crozer-Chester and personally delivered it. Id. He testified Dr. Cespon was not

filling it out. (Ex. B, p. 103). When he got through to Dr. Cespon’s office, Plaintiff

was informed by the doctor he was not FMLA eligible. (Ex. B, p. 107). Plaintiff

testified he then went to Dr. Munshower, his primary care doctor. (Ex. B, p. 111).

Plaintiff brought Dr. Munshower the FMLA paperwork and Dr. Munshower refused

to sign it. Id.

       It appeared Plaintiff did not talk to his doctor about the accommodations that

might be provided that would enable him to work his full shift and he did not return

the FMLA physician’s certification as required under law and directed by Defendant

Serino. (Ex. C, ¶ 25). As a result, on October 28, 2020, Defendant Serino sent a

letter to Plaintiff calling his attention to these issues. Serino ended the letter by

stating:


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 “As a result of your failure to provide the requested information and to fulfill your
duties in the ADA and the FMLA, your practice of leaving work part way through
your shift is no longer being approved. We will be happy to revisit this issue once
we receive the requested information from you. If you leave early, it will be
considered an unauthorized leave, subject to being reconsidered when and if you
provide the requested information.” (Ex. C, ¶ 26, Ex. C-9).

Plaintiff never provided the requested information. (Ex. C, ¶ 27).

      Plaintiff testified he did not respond to Defendant Serino: “Honestly, I – I may

have just overlooked it.” (Ex. B, p. 125).

      Plaintiff left work early again on October 28, 2020, despite what Defendant

Serino told him. Learning that Plaintiff left work early, Defendant Serino followed

up with Plaintiff on October 29 saying:

“Paul, you were given a letter from me yesterday that expressly stated that ‘if you
leave early, it will be considered an unauthorized leave, subject to being
reconsidered when and if you provided the required information.’ Despite being
told that, you left early, sending an e-mail to Mr. Mike Civera saying: ‘Leaving early
this evening and using 4 hours personal time.’ That leave is considered in violation
of what you were told. You are not approved and will not be approved for any further
absences unless and until we receive the information that we have requested. I
reserve the right to determine what discipline, if any, to impose at a later date.”
(Ex. C, ¶ 28, Ex. C-10).

      Despite receiving this email from Defendant Serino on the 29th, Plaintiff left

early again on the 29th. Before he left his shift four hours early that evening, Plaintiff

sent the following email:

      “Mr. Serino, I have the note from my physician to you regarding the shift
change and since then have asked multiple times for the ADA paperwork and have
not received anything from your office. I did receive the FMLA paperwork from
Shari and have given it to the mental health provider. They stated today that it may


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take a week or two longer until I have it completed back to you.” (Ex. C, ¶ 29, Ex.
C-11).

      Defendant Serino sent another email on the 30th expressing his disappointment

at Plaintiff’s behavior and spelling out several details. (Ex. C, ¶ 30). Defendant

Serino closed the email on the 30th at 4:02 PM follows:

“To be clear, you must tell me whether you are working your entire shift today. If
not, you will be disciplined. If you do not advise me within 30 minutes of this e-
mail to you that you are working your entire shift tonight, you are suspended
without pay, and are to leave work immediately and not return until you can work
your entire shift. If you need accommodations to work your entire shift, you are to
advise me promptly and we will schedule an interactive process meeting. We will
reconsider these decisions when and if you submit the required information and
FMLA paperwork.” (Emphasis added) (Ex. C, ¶ 31, Ex. C-12).

      Plaintiff did not contact Serino within 30 minutes as directed. (Ex C, ¶ 32).

Instead, at about 4:51 PM Plaintiff sent the following email to Serino:

“I have turned in a note from my doctor and through my attorney have requested
ADA paperwork several times. We had a reasonable accommodation meeting where
such paperwork was requested. The school district’s attorney hired a court reporter
to be present at that meeting and we discussed the accommodations at that time as
well, on the record. You have been on notice for in excess of two months that I
require accommodations and that I have a known disability. Instead of working with
me, you are now retaliating and punishing me. I cannot work outside of my
physicians [sic] restrictions of which you have been on notice for over two months.
By insisting that I do so, you are discriminating and retaliating against me. So that
you are aware, I have passed your correspondence on to my counsel. I am fully
capable of working within my restrictions and was doing so quite successfully
previously. All I want to do is work in peace.” (Id., Ex. C-13).

      Despite that Plaintiff read the Serino emails, he never told Mr. Serino the date

he first provided FMLA paperwork to his healthcare providers. (Ex. B, p. 136).

Plaintiff also failed to tell Mr. Serino when he followed up with his healthcare
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providers. Plaintiff testified at his deposition he did not know why he failed to tell

Mr. Serino this information. Id.

         That evening, Plaintiff sent an email to Defendant Civera he was leaving work

at 7:00 PM. (Ex. C., ¶ 33). Plaintiff testified he did not respond to Defendant

Serino’s directive to respond and inform Serino Plaintiff would work his entire shift:

“As I told you before, his directive was to respond in 30 minutes to tell him I was

working the whole shift. There was no need to respond when I wasn’t staying.” (Ex.

B, p. 141).

         In addition to the foregoing matters, there were other issues with Plaintiff’s

work performance. Complaints were being received that Plaintiff was calling

Defendant Civera names like “Mussolini,” “backstabber” and “the Fuhrer.” (Ex. C,

¶ 34).

         On November 2, 2020, Defendant Serino responded to Plaintiff’s allegations

from his October 30, 2020, email. (Ex. C, ¶ 35, Ex. C-14).

         On November 6, 2020, Defendant Serino sent a notice of allegations to

Plaintiff. (Ex. C, ¶ 36, Ex. C-15). It became clear to Defendant Serino that Plaintiff

would no longer follow instructions and was doing whatever he wanted. (Ex. C, ¶

37). A hearing/meeting took place with Plaintiff and his counsel on November 16,

2020, for the purpose of allowing Plaintiff to respond to the allegations against him.

(Ex. C, ¶ 38, transcript is Ex. C-16). Although more than two months passed since


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Plaintiff had been asked to provide the information relevant to accommodations and

the physician’s certificate under the FMLA, Plaintiff still had not provided the

information to the School District. After considering the allegations and Plaintiff’s

responses to the allegations, Defendant Serino decided to suspend Plaintiff pending

discharge. (Ex. C, ¶ 39, C-17). A Statement of Charges was issued by Defendant

Nerelli on December 4, 2020. (Ex. C, ¶ 40, Ex. D, ¶ 11, Ex. D-1). The reasons for

Plaintiff’s discharge are as stated on the attached Statement of Charges. Id. Plaintiff

testified he had no idea who decided to issue the November 6, 2020, letter from

Defendant Serino. (Ex. B, pp. 290-91). Plaintiff could not say if any other defendant

had a role in issuing that letter. (Ex. B, pp. 291-94).

      Plaintiff’s complaint alleges “Plaintiff has endeavored to have the paperwork

completed by has been stymied by COVID-19 pandemic and going between doctor’s

offices.” (Ex. A, Complaint, at ¶ 50). One year has transpired since Plaintiff was

assigned the second shift. All Plaintiff has produced to the School District in support

of his contention he cannot work the second shift is the September 1, 2020, letter

that does not state he cannot work the second shift. Plaintiff has had one year to get

one of his three treating physicians to write such a letter but has failed to secure one.

(Ex. C, ¶ 41).

      The first time Plaintiff told the District Defendants his treating physicians

refused to sign the FMLA paperwork was on July 16, 2021, at his deposition. (Ex.


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B, p. 148, Ex. C, ¶ 42). Plaintiff testified he could not provide any dates to which

he furnished his doctors FMLA paperwork, nor could he provide dates when he

discussed with his doctors any accommodations that could be provided to him that

would enable Plaintiff to work the second shift. (Ex. B, p. 155). Further, Plaintiff

could not provide any evidence of conversations with his doctors about

accommodations to allow him to perform the essential functions of his job on the

second shift. (Ex. B, p. 156).

      After Plaintiff was suspended pending discharge, he filed for Unemployment

Compensation benefits. His claim was denied upon finding that Plaintiff engaged

in willful misconduct. (Ex. C, ¶ 43, Ex. C-18).

      After waiting for another several months, Plaintiff was finally dismissed on

or about April 13, 2021. (Ex. C, ¶ 44). Plaintiff was investigated, disciplined, and

ultimately terminated for insubordination. (Ex. C, ¶ 44).

      Plaintiff’s deposition was conducted on July 16, 2021. The transcript of that

deposition is attached as Exhibit B.

      Plaintiff testified he did not complain about the assignment of the second shift

when he received it. (Ex. B, p. 198). He does not know who made the decision to

change him to the second shift. (Ex. B, p. 199).




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      Defendant Fred Serino’s Affidavit and exhibits are attached as Exhibit C. The

deposition of Defendant Serino was conducted on August 20, 2021. Portions of the

deposition transcript are attached hereto as Exhibit G.

      Defendant Dr. Daniel Nerelli’s Affidavit and exhibit are attached as Exhibit

D. As per his Affidavit, he had no active role in any investigation, recommendation,

decision-making, or discipline of Plaintiff in any way. (Ex. D, ¶ 11).

      Defendant Anthony Testa’s Affidavit is attached as Exhibit E. Anthony Testa

had no role in any recommendation, decision-making or discipline of Plaintiff in any

way. (Ex. E, ¶ 5 and ¶ 9.)

      Defendant James Stewart’s Affidavit and exhibit are attached as Exhibit F.

As per his Affidavit, he had no role in any investigation, recommendation, decision-

making, or discipline of Plaintiff in any way. (Ex. F, ¶ 4).

      Of Defendant Stewart’s involvement in the lawsuit, Plaintiff testified “To tell

you the truth, I think he was just maybe listed on there because he was the interim

director while Mike Civera was suspended.” (Ex. B, p. 23). When pressed later in

his deposition about any evidence Mr. Stewart took any action against him that he

believes is unlawful discrimination or unlawful retaliation, Plaintiff said: “As I

explained in my answer earlier, he was listed because of his limited area as my

supervisor. And that’s all I know about it, Mr. Levin. That’s all I know.” (Ex. B,

p. 168).


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      Plaintiff testified he could not name a single employee or student at the School

District who was discriminated against based on disability, nor could he name a

single employee or student at the School District who was unlawfully retaliated

against for any reason. (Ex. B, p. 73). Plaintiff testified he was accommodated for

his FMLA leave and a leave of absence in 2019 and there was no discrimination or

retaliation. (Ex. B, pp. 90-97).

      Plaintiff could not identify what factors were taken into consideration by each

defendant in the various letters and emails that were sent to him. (Ex. B, pp 222-

24). At his deposition, Plaintiff said the only factor he knows is the “racist remark

report. That’s the factor.” (Ex. B, p. 247). “I said I don’t know the factors.” (Ex.

B, p. 249). Plaintiff points to timing and does not believe there was a need for a

second shift because there “was a limited crew working at night.” (Ex. B, pp. 247-

49, 305-06, 337).

      Plaintiff agreed that from August 31, 2020, to some unknown time, the School

District was allowing him to leave early and to use sick leave or other paid time off.

(Ex. B, p. 251). Plaintiff acknowledged the School District was not discriminating

against him when it allowed him to do that. (Ex. B, p. 252).

      Plaintiff testified at his deposition for the first time that he in fact received a

second note from a doctor sometime after he was placed on leave or terminated. (Ex.




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B, pp. 145-49.) This note was not produced to the defendants nor in this lawsuit

until September 8, 2021. (Id., and Affidavit of Michael T. Sweeney, Esquire).

      Plaintiff alleges in his Complaint there were numerous occasions when

Defendant Serino threatened to discipline him for using his paid time off to leave

early from the night shift. (Ex. A, ¶ 46). However, he could not find a single threat

of such discipline before Defendant Serino’s October 28, 2020, letter. (Ex. B, pp.

271-77).

      Plaintiff acknowledged his allegations in the Complaint that defendants failed

to comply with notice requirements and paperwork of the FMLA are false. (Ex. B,

pp. 315-25). Plaintiff also said paragraph 85 of his Complaint is not true: “I think

it’s a bad cut and paste.” (Ex. B, pp. 327-28.)

      Plaintiff acknowledged he has no evidence of discriminatory or retaliatory

conduct: “I don’t have any evidence, no.” (Ex. B, p. 330). Of Defendant Nerelli,

Plaintiff alleges “…whatever it is his intentions were, of course he’s involved in all

this.” (Ex. B, p. 331.). Of Defendant Testa, Plaintiff only pointed to the July 7,

2020, insubordination write-up by Defendant Civera although Defendant Testa did

not author such write-up. (Ex. B, p. 333). Plaintiff alleges all shift changes were

approved by Defendant Testa. (Ex. B, p. 334).

      Defendant Serino’s deposition was conducted on August 20, 2021.

Defendants Nerelli and Testa were deposed on September 1, 2021.


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      Defendant Stewart’s deposition was not conducted by Plaintiff.

      At the time of this motion, the transcripts from the Nerelli and Testa

depositions are not yet available. (Sweeney Affidavit). Accordingly, Defendants

Chichester School District, Fred Serino, Daniel Nerelli, Anthony Testa, and James

Stewart, respectfully request the opportunity to reply to Plaintiff’s opposition to this

motion for summary judgment.

                            STANDARD OF REVIEW

      Federal Rule of Civil Procedure 56(c) provides that summary judgment may

be granted if, drawing all inferences in favor of the non-moving party, “the

pleadings, depositions, answers to interrogatories and admissions on file, together

with the affidavits, if any, show that there is no genuine issue of material fact and

the movant is entitled to judgment as a matter of law.” Summary judgment may be

granted against a party who fails to adduce facts sufficient to establish the existence

of any element essential to that party’s claim, and upon which that party will bear

the burden of proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548

(1986).

      The moving party bears the initial burden of identifying evidence which

demonstrates the absence of a genuine issue of material fact. When the movant does

not bear the burden of proof on the claim, the movant’s initial burden may be met

by demonstrating the lack of record evidence to support the opponent’s claim.


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National State Bank v. National Reserve Bank, 979 F.2d 1579, 1582 (3d Cir.1992).

Once that burden has been met, the non-moving party must set forth “specific facts

showing that there is a genuine issue for trial,” or the factual record will be taken as

presented by the moving party and judgment will be entered as a matter of law.

Matsushita Electric Industrial Corp. v. Zenith Radio Corp., 475 U.S. 574, 106 S.Ct.

1348 (1986). An issue is genuine only if the evidence is such that a reasonable jury

could return a verdict for the non-moving party. Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 106 S.Ct. 250 (1986). The opponent cannot “merely rely upon

conclusory allegations in [its] pleadings or in memoranda and briefs.” Harter v.

GAF Corp., 967 F.2d 846, 853 (3d Cir.1992). Mere conjecture or speculation by the

party resisting summary judgment will not provide a basis upon which to deny the

motion. Robertson v. Allied Signal, Inc., 914 F.2d 360, 382-83 n. 12 (3d Cir.1990).

      A nonmoving party cannot defeat summary judgment simply by asserting that

a jury might disbelieve his opponent. Instead, the plaintiff must present affirmative

evidence in order to defeat a properly supported motion for summary judgment.

Liberty Lobby, 477 U.S. at 256-57, 106 S.Ct. at 2514. Such affirmative evidence—

regardless of whether it is direct or circumstantial—must amount to more than a

scintilla. William v. Borough of West Chester, 891 F.2d 458, 460 (3d Cir. 1990).

      In this case, Plaintiff lacks any evidence to support his claim and instead relies

on nothing more than unsupported assertions, conclusory allegations, and mere


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suspicions.    Considering the appropriate standard, Plaintiff’s unwarranted

assumptions do not allow him to survive summary judgment.

                                   ARGUMENT

      1. SUMMARY JUDGMENT MUST BE ENTERED IN DEFENDANTS’
         FAVOR WITH RESPECT TO PLAINTIFF’S FMLA CLAIMS
         (COUNTS III AND IV)

      In his Complaint, Plaintiff alleges District Defendants violated the FMLA

(Count III) by failing to comply with notice requirements and retaliating against him

for attempting to exercise his rights under the FMLA (Count IV).

   A. Plaintiff’s Discrimination Claim Under the FMLA

      The FMLA requires notice as provided in 29 C.F.R. § 825.300. District

Defendants provided such notice to Plaintiff. Plaintiff does not specifically state

what notice was not given nor does Plaintiff state which section was allegedly

violated. Plaintiff does not state any such violation in his deposition testimony.

Notice was sent by Defendant Serino to Plaintiff on October 2, 2020 (Ex. C-5).

      The FMLA provides at 29 C.F.R. § 825.313 that a failure to provide a

certification to the employer may result in consequences to the employee as follows:

   (a) Foreseeable leave. In the case of foreseeable leave, if an employee fails to
       provide certification in a timely manner as required by § 825.305, then an
       employer may deny FMLA coverage until the required certification is
       provided. For example, if an employee has 15 days to provide a certification
       and does not provide the certification for 45 days without sufficient reason for
       the delay, the employer can deny FMLA protections for the 30-day period
       following the expiration of the 15-day time period, if the employee takes leave
       during such period.
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   (b) Complete and sufficient certification. The employee must provide a complete
       and sufficient certification to the employer if required by the employer in
       accordance with §§ 825.306, 825.309, and 825.310. The employer shall
       advise an employee whenever the employer finds a certification incomplete
       or insufficient and shall state in writing what additional information is
       necessary to make the certification complete and sufficient. A certification is
       considered incomplete if the employer receives a certification, but one or more
       of the applicable entries have not been completed. A certification is
       considered insufficient if the employer receives a complete certification, but
       the information provided is vague, ambiguous, or non-responsive. The
       employer must provide the employee with seven calendar days (unless not
       practicable under the particular circumstances despite the employee's diligent
       good faith efforts) to cure any such deficiency. If the deficiencies specified by
       the employer are not cured in the resubmitted certification, the employer may
       deny the taking of FMLA leave, in accordance with § 825.313. A certification
       that is not returned to the employer is not considered incomplete or
       insufficient but constitutes a failure to provide certification.

      Despite receiving all FMLA paperwork from the School District on or about

October 2, 2020, Plaintiff failed to provide a complete and sufficient certification to

the employer as required by the statute. To this day, Plaintiff has failed to produce

such documentation and acknowledged in his deposition testimony that his treating

physicians refused to provide certification.

   B. Plaintiff’s Retaliation Claim Under the FMLA

      The FMLA provides at 29 C.F.R. § 825.220 for protection of employees who
request leave or otherwise assert FMLA rights by prohibiting interference with an
employee's rights under the law, and with legal proceedings or inquiries relating to
an employee's rights. The law contains the following employee protections:

(1) An employer is prohibited from interfering with, restraining, or denying the
exercise of (or attempts to exercise) any rights provided by the Act.



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(2) An employer is prohibited from discharging or in any other way discriminating
against any person (whether or not an employee) for opposing or complaining about
any unlawful practice under the Act.

(3) All persons (whether or not employers) are prohibited from discharging or in any
other way discriminating against any person (whether or not an employee) because
that person has -

(i) Filed any charge, or has instituted (or caused to be instituted) any proceeding
under or related to this Act;

(ii) Given, or is about to give, any information in connection with an inquiry or
proceeding relating to a right under this Act;

(iii) Testified, or is about to testify, in any inquiry or proceeding relating to a right
under this Act.

      The Act protects against

(1) Transferring employees from one worksite to another for the purpose of reducing
worksites, or to keep worksites, below the 50-employee threshold for employee
eligibility under the Act;

(2) Changing the essential functions of the job in order to preclude the taking of
leave;

(3) Reducing hours available to work in order to avoid employee eligibility.

(c) The Act's prohibition against interference prohibits an employer from
discriminating or retaliating against an employee or prospective employee for having
exercised or attempted to exercise FMLA rights.

      Plaintiff has not alleged any work change was aimed at Plaintiff for attempting

to exercise his FMLA rights. Instead, the facts demonstrate that Plaintiff was offered

more than ample time to secure the proper physician certification for his FMLA

paperwork and that he was unable to secure it because his physicians refused to sign.


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Additionally, the FMLA paperwork was sought after the change in shifts. Therefore,

Plaintiff’s FMLA complaints should be dismissed.

       2. SUMMARY JUDGMENT MUST BE ENTERED IN DEFENDANTS’
          FAVOR WITH RESPECT TO PLAINTIFF’S ADA, TITLE VII AND
          PHRA CLAIMS (COUNTS I, II, V-X)

    A. Discrimination Claims under ADA, Title VII and PHRA

       In his Complaint, Plaintiff alleges he was discriminated against and retaliated

against by the District Defendants based upon his gender and his complaints of race

discrimination or harassment, and retaliation in violation of the ADA (Counts I and

II), Title VII (Counts V and VI) and the PHRA (Counts VII- X).1 Plaintiff alleges

that the Defendants discriminated against him, based on his race, sexual orientation,

gender, and because of his alleged disability or due to his complaints of race

discrimination. Plaintiff further alleged Defendants committed assault and battery,

aiding, abetting, inciting, compelling and coercing the discriminatory conduct.




1
 The PHRA prohibits discrimination based upon race “with respect to compensation, hire, tenure,
terms, conditions or privileges of employment or contract ….” 43 P.S. § 955(a). Federal and state
courts consider Title VII and PHRA as embodying identical substantive standards. Phillips v.
Heydt, et al., 197 F.Supp.2d 207, 216 (E.D.Pa. 2002). Thus, the same legal test, namely that
outlined by the court in McDonnell Douglas, infra, applies to Title VII and PHRA claims.
Henderson v. Nutrisystem, Inc., 634 F.Supp.2d 521, 529 (E.D.Pa. 2009) (citing Gomez v.
Allegheny Health Servs., Inc., 71 F.3d 1079. 1083-84 (3rdCir. 1995)). Employment discrimination
under the PHRA is analogous to employment discrimination under Title VII and is analyzed under
the same standards as a Title VII claim. Dici v. Commonwealth of Pennsylvania, 91 F.3d 542 (3d
Cir. 1996). If there are grounds to dismiss Plaintiff’s Title VII claim, then the employment
discrimination claims under the PHRA must also be dismissed. See, Jones v. District Defendants
of Philadelphia, 198 F.3d 403, 409 (3d Cir. 1999).
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However, for the reasons that follow, Plaintiff has failed to satisfy his burden of

proof, requiring summary judgment to be granted in the District Defendants’ favor.

       The ADA and PHRA are “interpreted consistently” and share “the same

standard for determination of liability.” Courts may “analyze the statutes together

and reference only the ADA.” McNelis v. Pa. Power & Light Co., 867 F.3d 411, 4`4

(3d Cir. 2017 (quoting Macfarlan v. Ivy Hill SNF, LLC, 675 F. 3d 266, 274 (3d Cir.

2012)).    Plaintiff raises ADA and PHRA claims based on discrimination and

retaliation.

       Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., prohibits

employers from discriminating against any individual on the basis of race with

respect to compensation, terms, conditions, or privileges of employment. 42 U.S.C.

§ 2000e-2(a)(1). The PHRA contains similar protections for members of protected

classes. 43 P.S. §§ 951-963. To sustain a cause of action for discrimination under

either Title VII or the PHRA, a plaintiff’s initial burden is to set forth a prima facie

case of discrimination under the analytic framework which has evolved from the

U.S. Supreme Court’s decision in McDonnell Douglas Corp. v. Green, 411 U.S. 792,

93 S.Ct. 1817 (1973). Once a prima facie case is established, a presumption of

discrimination has been created. St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 113

S.Ct. 2742 (1993). Once a prima facie case and, hence, a presumption has been

established, the employer must produce some evidence of a legitimate,


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nondiscriminatory business reason for its action. Fuentes v. Perskie, 32 F.3d 759,

763 (3d Cir. 1994). If this evidence is produced, the plaintiff may survive a motion

for summary judgment only if he “produced sufficient evidence to raise a genuine

issue of fact as to whether the employer’s proffered reasons were not its true reasons

for the challenged employment action.” Sheridan v. E.I. DuPont de Nemours & Co.,

100 F.3d 1061, 1066 (3d Cir. 1966) (en banc). As the Supreme Court has succinctly

stated:

      First, the plaintiff has the burden of proving by the preponderance of
      the evidence a prima facie case of discrimination. Second, if the
      plaintiff succeeds in proving the prima facie case, the burden shifts to
      the defendant to articulate some legitimate, nondiscriminatory reason
      for the [adverse employment action]. Third, should the defendant carry
      this burden, the plaintiff must then have an opportunity to prove by a
      preponderance of the evidence that the legitimate reasons offered by
      the defendant were not its true reasons, but were a pretext for
      discrimination.

Texas Department of Community Affairs v. Burdine, 450 U.S. 248, 101 S.Ct. 1089,

1090 (1981) (citing McDonnell Douglas).

      The existence of a prima facie case of discrimination “is a question of law that

must be decided by the Court.” Sarullo v. United States Parcel Service, 352 F.2d

789, 797 (3d Cir.2003) (per curiam). The major purpose of the prima facie case is

to eliminate the most obviously lawful explanations for the defendant’s adverse

employment action and raise a presumptive inference of discrimination. Pivirotto v.

Innovative Systems, Inc., 191 F.3d 344, 352 (3d Cir.1999) (citation omitted). In

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general, a plaintiff may establish a prima facie case by demonstrating that: (1) he is

a member of a protected class, (2) he was qualified for the position, (3) he suffered

an adverse employment action despite being qualified, and (4) the circumstances

raise an inference of intentional discrimination. Rosati v. Colello, 94 F.Supp.3d 704,

713 (E.D.Pa. 2015) (citing Sarullo, supra); Daniels v. School Dist. of Philadelphia,

982 F.Supp.2d 462, 479 (E.D.Pa. 2013) (citing Makky v. Chertoff, 541 F.3d 2015,

214 (3rdCir. 2008). The same is required for a claim under the PHRA. See, Frinter

v. TruePosition, 892 F.Supp.2d 699, 708 (E.D.Pa. 2012). With respect to this fourth

prong of the prima facie case, a “plaintiff must show that a similarly situated

individual from a non-protected class was promoted instead of him or that some

other inference of discrimination is present.” O’Neal v. R.L. Brownlee, 2004 WL

2827052, *6 (E.D.Pa. 2004); Martin v. Enterprise Rent-a-Car, 2003 WL 187432, *6

(E.D.Pa. 2003). “[T]he ultimate burden of persuading the trier of fact that the

defendant intentionally discriminated against the plaintiff remains at all times with

the plaintiff.” Rosati, supra at 713 (citing St. Mary’s Honor Ctr. v. Hicks, 509 U.S.

502, 507, 113 S.Ct. 2742 (1993)). The District Defendants do not dispute that

Plaintiff is a member of a protected class (suffers from a mental disability).

      Plaintiff cannot establish a prima facie case under Title VII and the PHRA,

because he has no evidence the subject circumstances raise an inference of

intentional discrimination by the District Defendants. The circumstances in this case


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are straightforward.    Only Plaintiff believes his treatment was a result of

discrimination, despite that all other witnesses said his hours were changed because

of the change to in person school for the 2020-2021 school year. Plaintiff was

afforded the opportunity to meet in the interactive process to accommodate him, but

only offered to work a shift that was not assigned to him. In a further attempt to

accommodate Plaintiff, the District Defendants waited for over two months for

Plaintiff to obtain paperwork signed by a physician stating Plaintiff must not work

his assigned hours because of his disability Plaintiff failed to obtain that paperwork

and has failed to this day to show any physician supports his complaint.

      In addition to the failure to provide proper paperwork, Plaintiff failed to

appear for his scheduled work hours in deliberate defiance of Defendant Serino’s

continued demands that he report to work for his scheduled shift at the start of the

2020-2021 school year to supervise the enhanced cleaning of schools necessitated

by COVID-19 protocols. Plaintiff’s indifference to produce documents for his

desired ADA accommodation and FMLA paperwork is astounding. That Plaintiff

only produced one doctor note from August 2020 and failed to produce a second

note from November 2020 until just a few days before this motion, on September 8,

2021, is beyond comprehension, but seemingly quite normal for Plaintiff, who

creates his own rules and continuously rejects explicit direction from his employer.




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      Plaintiff’s treating doctors refused to sign Plaintiff’s FMLA paperwork

despite his efforts. If Plaintiff could not secure such paperwork, he should have

worked his second shift as directed. Plaintiff failed to follow the directive of

Defendant Serino and was insubordinate.          His insubordination continued and

Plaintiff was placed on leave and given a further opportunity to secure proper

physician certification for his FMLA paperwork and further physician confirmation

of his alleged ADA accommodation issue. Again, Plaintiff failed to follow through.

Plaintiff has produced no evidence to support any of his allegations of discriminatory

conduct.

      These facts and supporting evidence show that Plaintiff cannot plausibly make

a prima facie case of discrimination because he has not established and cannot

establish that the circumstances of the shift change raise an inference of intentional

discrimination against him by the District Defendants.

      Although Plaintiff makes a claim for sexual orientation, race, and gender

discrimination in his Complaint, no such testimony was produced at his deposition.

Plaintiff never alleged he was discriminated or retaliated against due to these factors.

      Accordingly, the Court should enter summary judgment in Defendant’s favor

on Plaintiff’s ADA, Title VII and PHRA claims of discrimination.




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      1. Defendant has produced legitimate, non-discriminatory explanations.

      Assuming, arguendo, that Plaintiff could even establish a prima facie case

through circumstantial evidence in his pretextual case, the second step in the

McDonnell Douglas Corp. framework is for the Court to undertake a burden-shifting

analysis. Under this analysis, if a plaintiff has established a prima facie case, the

burden switches to the defendant to provide a legitimate non-discriminatory

justification for the challenged employment decision.        Sempier v. Johnson &

Higgins, 45 F.3d 724, 728 (3d Cir.), cert. denied, 515 U.S. 1159 (1995). The

defendant’s burden at this step is one of production, not persuasion. St. Mary’s

Honor Center v. Hicks, 509 U.S. 502, 509, 113 S.Ct. 2742, 2748 (1993). While the

burden of production may shift, “[t]he ultimate burden of persuading the trier of fact

that the defendant intentionally discriminated against the plaintiff remains at all

times with the plaintiff.” Burdine, 450 U.S. at 252-53, 101 S.Ct. 1089, 1093

(citations omitted).   If the defendant meets this burden, the presumption of

discrimination created by the prima facie case “drops” from the case. St. Mary’s

Honor Center, 509 U.S. at 511, 113 S.Ct. 2742, 2749; Reeves v. Sanderson Plumbing

Products, Inc., 530 U.S. 133, 143, 120 S.Ct. 2097, 2106 (2000).

      As testified to by Fred Serino, Superintendent Nerelli, and Mike Civera, the

District Defendants produced legitimate, non-discriminatory reasons for why it




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assigned Plaintiff to the second shift as the COVID-19 cleaning standards were

enhanced for the in-person school year beginning in the late summer of 2020.

      Considering the foregoing, to the extent that Plaintiff may believe that he was

discriminated and retaliated against, the District Defendants have met their burden

of production to show legitimate, non-discriminatory reasons for the decision to

change Plaintiff’s shift.

      2. Plaintiff cannot establish that Defendant’s justification in change of
         hours was pretextual.

      Defendant has provided evidence, as stated above, that Plaintiff was

justifiably held to produce a physician document that showed he was entitled to

FMLA leave or that he was unable to work the second shift due to his disability

under the ADA. In fact, Plaintiff was fairly treated in a process with which he was

familiar because he used this process in gaining his FMLA leave in 2019. Instead

of responding to the consistent requests by the District Defendants for information

related to Plaintiff’s claims, Plaintiff instead avoided the requests and failed to

communicate his progress or lack thereof with his treating physicians. Instead of

working the second shift, Plaintiff chose to go it alone with fair and adequate

warning from the District Defendants that he would suffer consequences including

suspension and loss of his job if he continued.

      If the defendant provides a justification for the alleged discriminatory act, then

the burden switches back to the plaintiff to show by a preponderance of the evidence
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that the proffered justification is more likely than not a pretext for intentional

discrimination. Fuentes v. Perskie, 32 F.3d 759, 763 (3d Cir.1994). Therefore, to

survive summary judgment, Plaintiff must prove to the court that he would be able

to convince the finder of fact “both that the reason was false, and that discrimination

was the real reason.” St. Mary’s Honor Ctr., 509 U.S. at 515, 113 S.Ct. 2742, 2752

(emphases in original). “The question is not whether the employer made the best,

or even a sound, business decision; it is whether the real reason is [discrimination].”

Keller v. Orix Credit Alliance, Inc., 130 F.3d 1101, 1109 (3d Cir.1997) (quoting

Carson v. Bethlehem Steel Corp., 82 F.3d 157, 159 (7th Cir.1996); Atkinson v.

LaFayette College, 460 F.3d 447, 454 (3rdCir. 2006). It is the plaintiff’s burden to

point to some direct or circumstantial evidence allowing a reasonable factfinder to

either “(1) disbelieve the employer’s articulated legitimate reasons; or (2) believe

that an invidious discriminatory reason was more likely than not a motivating or

determinative cause of the employer’s action.” Fuentes, 32 F.3d at 764. The

evidence in this case does not plausibly support either conclusion.

      When attempting to discredit an employer’s proffered justification, “the

plaintiff cannot simply show that the employer’s decision was wrong or mistaken,

since the factual dispute at issue is whether discriminatory animus motivated the

employer, not whether the employer is wise, shrewd, prudent or competent.”

Fuentes, 32 F.3d at 765; see also, Davis v. Pittsburgh Pub. Sch., 930 F.Supp.2d 570,


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601 (W.D.Pa. 2013) (“The court is neither permitted to get involved in the subjective

business decisions of the employer, nor set its own employment standards for the

employer, unless there is evidence of discrimination.”). Rather, “the plaintiff must

demonstrate such weaknesses, implausibilities, inconsistencies, incoherencies, or

contradictions in the employer’s proffered legitimate reasons for its actions that a

reasonable factfinder could rationally find them unworthy of credence.” Jones, 198

F.3d at 413 (citing Keller, 130 F.3d at 1108-09). A plaintiff can only satisfy this

standard if he demonstrates, “through admissible evidence, that the employer’s

articulated reason was not merely wrong, but that it was ‘so plainly wrong that it

cannot have been the employer’s real reason.’” Id., citing Keller, 130 F.3d at

1109. “The fact that an employee disagrees with an employer's evaluation of [him]

does not prove pretext.” Carter v. Mid-Atlantic Healthcare, LLC, -- F.Supp.3d --,

2017 WL 119804, *7 (E.D.Pa. 2017) (citing Farzan v. Vanguard Grp., Inc., 582

Fed.Appx. 105, 108 (3dCir. 2014) (quoting Billet v. CIGNA Corp., 940 F.2d 812,

825 (3d Cir. 1991)).

      Plaintiff cannot present any evidence to disbelieve District Defendant’s

proffered reasons for taking actions. He has no evidence that any District Defendant,

did anything adverse to him because of his disability or that it was motivated by

discriminatory animus. Plaintiff was afforded ample opportunity by the District

Defendants to present medical evidence to support his contention he could not work


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the second shift. Instead, Plaintiff failed to do so and failed to keep Defendant Serino

informed of his progress, or lack thereof. Plaintiff’s failures to follow directions are

incredible since he was presented with constant emails and letters from Defendant

Serino and appeared with counsel at meetings with the School District to work on a

reasonable accommodation. Simple common sense asks why Plaintiff could not

work the second shift and go to sleep earlier or later to accommodate his sleep

schedule. Instead, Plaintiff offered nothing more than a refusal to work the second

shift. Plaintiff also cannot refute the need to supervise the second shift custodians

to make sure the schools were properly cleaned in accordance with COVID-19

protocols.

      B. Retaliation under PHRA

      Plaintiff claims in Count VI of the Complaint that the School District

retaliated against him in violation of Title VII for his disability and for reporting

alleged discriminatory language used in the workplace. Additionally, Plaintiff

claims in Count VIII that the School District retaliated against him under the PHRA

§ 955(d) for reporting alleged discriminatory language.            Under the PHRA,

employers may not discriminate against employees who engage in protected

conduct. See 43 P.S. § 955(d); see also 42 U.S.C. § 12203(a) (prohibiting retaliation

against an individual who has engaged in conduct protected under the ADA). Like

substantive discrimination claims, ADA and PHRA retaliation claims are often


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analyzed under the McDonnell Douglas burden-shifting framework, discussed

above. See Marra v. Phila. House. Auth., 497 F.3d 286, 300 (3d Cir. 2007);

Gonzales v. Purolite Corp., No. CV 17-2983, 2019 WL 4277456, at *5 (E.D. Pa.

Sept. 10, 2019). To establish a prima-facie case of retaliation, a plaintiff must show

that (1) he engaged in protected activity; (2) he suffered an adverse action either after

or contemporaneous with his engagement in the protected activity; and (3) there is a

causal connection between the protected activity and the employer's adverse action.

Marra, 497 F.3d at 300; Gonzales, 2019 WL 4277456, at *6 (citing Krouse v. Amer.

Sterilizer Co., 126 F.3d 494, 500 (3d Cir. 1997)).

      For retaliation under Title VII, a complaint about workplace behavior that is

so minor and isolated that it could not “remotely be considered ‘extremely serious’

”—that is not within some striking distance of an actual hostile work environment—

is not protected because “[n]o reasonable person could have believed that [it] ...

violated Title VII's standard.” Clark County Sch. Dist. v. Breeden, 532 U.S. 268,

271, 121 S.Ct. 1508, 149 L.Ed.2d 509 (2001) (per curiam). Here, there are two

alleged incidents where Plaintiff claimed an employee with whom he worked, heard

Defendant Civera used an inappropriate racial slur. There is no evidence racial slurs

were used on a regular basis or even beyond the two alleged incidents reported by

Plaintiff. There is no evidence of racial animus or discrimination that a reasonable

person would believe the language to be “extremely serious.” Instead, these alleged


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incidents were random, inappropriate at best, but hardly serious enough to warrant

the standard for Title VII liability. There is no evidence racially inappropriate

language was used other than what Plaintiff reported.

      Plaintiff did not suffer an adverse action either after or contemporaneous with

his engagement in a protected activity. The shift change was due to a need to have

enhanced COVID-19 cleaning measures ensured for the in-person school year.

There is no evidence of a causal connection between Plaintiff’s protected activity

and the employer’s alleged adverse action.

   C. Aiding and Abetting under PHRA 9559(e) (Count X)

      In Count X of the Complaint, Plaintiff alleges the individual District

Defendants aided and abetted in violation of PHRA Section 955(e). Courts have

held this is akin to “accomplice” liability. See, e.g., Frye v. Robinson Alarm Co., No.

97-0603, 1998 U.S. Dist. LEXIS 1331, * 9, 1998 WL 57519, * 3 (E.D. Pa. Feb. 11,

1998) (“PHRA establishes accomplice liability for individuals who aid and abet a

violation of the statute by their employer”).

      Since there is no corresponding violation of PHRA Section 955(a), the Court

should dismiss this count. Courts have so held without such violation by the

employer to aid and abet. See, e.g., Scully v. Allegheny Ludlum Corp., No. 06-2252,

2007 U.S. App. LEXIS 28485 (3d Cir. Dec. 10, 2007) (affirmed dismissal of PHRA

aiding and abetting claim because underlying age discrimination claims under


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ADEA and PHRA against employer were dismissed); Unangst v. Dual Temp Co.,

No. 10-6811, 2012 U.S. Dist. LEXIS 36852 (E.D. Pa. Mar. 19, 2012) (entered

summary judgment in favor of individual defendants on PHRA aiding and abetting

claim where underlying PHRA claim against employer dismissed).

      The Court in Unangst held that “nonemployers such as [the individual

defendants]” ‘cannot violate Section 955(e) when there is no corresponding Section

955(a) violation by an employer to aid and abet.'” Unangst, 2012 U.S. Dist. LEXIS

at * 26-27 (citations omitted). As a result, since the court entered summary judgment

in favor of the employer on the PHRA claims, the Court held that the plaintiff was

unable to prevail on the aiding and abetting claims as a matter of law and entered

summary judgment on those claims as well. Unangst, 2012 U.S. Dist. LEXIS at *

27.

      Plaintiff has no evidence of aiding and abetting among the District

Defendants. Instead, the evidence shows Defendant Serino took all appropriate

action with respect to Plaintiff’s discipline.

      For these reasons, Plaintiff cannot meet his burden of proof to establish a

viable discrimination claim based on race under Title VII or the PHRA, and

Defendant is entitled to summary judgment.




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                                CONCLUSION

       Based upon the foregoing, Chichester District Defendants, Fred Serino,

Daniel Nerelli, Anthony Testa, and James Stewart (“District Defendants”),

respectfully request that the Court grant its motion and enter summary judgment in

its favor.



                                                  LEVIN LEGAL GROUP, P.C.

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